                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 L.W., by and through parents and next               )
 friends, Samantha Williams and Brian                )
 Williams, et al.,                                   )
                                                     )             No. 3:23-cv-00376
         Plaintiffs,                                 )             JUDGE RICHARDSON
                                                     )             JUDGE NEWBERN
 and                                                 )
                                                     )
 UNITED STATES OF AMERICA,                           )
                                                     )
         Plaintiff-Intervenor,                       )
                                                     )
 v.                                                  )
                                                     )
 JONATHAN SKRMETTI et al.,                           )
                                                     )
         Defendants.                                 )

       DEFENDANTS’ RESPONSE TO NOTICE OF SUPPLEMENTAL AUTHORITY

        The Plaintiffs’ library of broken records continues to grow—each of them with a scratch

right where the discussion of Dobbs is supposed to be. The permanent injunction decision in

Brandt v. Rutledge, 2023 WL 4073727 (E.D. Ark. June 20), does not cite Dobbs a single time.

Like Plaintiffs in this case, Brandt has no cogent rejoinder to the Supreme Court’s instruction that

a State’s medical regulation “is not a sex-based classification and is thus not subject to the

‘heightened scrutiny’ that applies to such classifications” even if the regulated procedure is one

“that only one sex can undergo.” Dobbs, 142 S.Ct. at 2245-46 (citing Geduldig v. Aiello, 417 U.S.

484, 496 (1974)). Brandt simply plays on repeat its pre-Dobbs Equal Protection analysis.

        Brandt’s silence about Dobbs is all the more deafening because half of the non-recused

judges of the en banc Eighth Circuit have already cited Dobbs to explain their skepticism that

Bostock’s Title VII reasoning applies to the Equal Protection Clause, which “predates Title VII by



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nearly a century.” Brandt v. Rutledge, 2022 WL 16957734, at *1 n.1 (8th Cir. Nov. 16) (Stras, J.,

joined by Gruender, Erickson, Grasz, Kobes, JJ., dissental) (quoting Dobbs, 142 S.Ct. at 2245-46,

for the principle that “[t]he regulation of a medical procedure that only one sex can undergo does

not trigger heightened constitutional scrutiny”).

       The Act challenged here equally protects Tennessee minors of both sexes. Rational-basis

review applies, just as it governs “other health and safety measures.” Dobbs, 142 S.Ct. at 2246.

This standard is “highly deferential” and “designed to respect the constitutional prerogatives of

democratically accountable legislatures” rather than to “second-guess a state’s medical and

scientific judgments,” as Plaintiffs mistakenly ask the Court to do for this medical regulation.

Bristol Reg’l Women’s Ctr., P.C. v. Slatery, 7 F.4th 478, 483 (6th Cir. 2021) (en banc) (reversing

decision of this Court permanently enjoining enforcement of Tennessee abortion regulation).




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Dated: June 21, 2023                Respectfully submitted,

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          I hereby certify that on June 21, 2023, the undersigned filed the foregoing document via

this Court’s electronic filing system, which sent notice of such filing to the following counsel of

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